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      Attorney: Michael Anthony Hernandez
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 5
                            UNITED STATES DISTRICT COURT
 6
                          SOUTHERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                     Case No.: 20CR0612-LAB
 8
                            Plaintiff,             I N F O R M A T I O N
 9                                                       (Superseding)
           v.
10                                                 Title 21, U.S.C., Secs. 952
     RENE LUIS SILVA,                              and 960 - Importation of
11                                                 Methamphetamine and Fentanyl
                            Defendant.             (Felony)
12

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14        The United States Attorney charges:
15                                       Count 1
16         On or about January 25, 2020, within the Southern District of
17 California, defendant RENE LUIS SILVA, did knowingly and intentionally

18 import 50 grams and more, to wit:       approximately 13.12 kilograms (28.92
19 pounds) of a mixture and substance containing a detectable amount of

20 Methamphetamine, a Schedule II Controlled Substance, into the United

21 States from a place outside thereof; in violation of Title 21, United

22 States Code, Sections 952 and 960.

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     KASA:tld:7/15/2020
     Case 3:20-cr-00612-LAB Document 39 Filed 07/29/20 PageID.126 Page 2 of 2




 1                                      Count 2

 2        On or about January 25, 2020, within the Southern District of

 3 California, defendant RENE LUIS SILVA, did knowingly and intentionally

 4 import    40   grams   and   more,   to   wit:     approximately    261.3    grams

 5 (0.576 pounds) of a mixture and substance containing a detectable

 6 amount of N-phenyl-N-[1-(2-phenylethyl) -4-piperidinyl] propanamide

 7 (Fentanyl), a Schedule II Controlled Substance, into the United States

 8 from a place outside thereof; in violation of Title 21, United States

 9 Code, Sections 952 and 960.
10                 07/28/2020
          DATED: _______________.

11                                           ROBERT S. BREWER, JR.
                                             United States Attorney
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14                                           KAREEM A. SALEM
                                             Assistant U.S. Attorney
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